     Case 1:13-cr-00219-LJO-SKO Document 101 Filed 01/09/14 Page 1 of 2


1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2
     ERIC V. KERSTEN, Bar #226429
3    Assistant Federal Defender
     Designated Counsel for Service
4    2300 Tulare Street, Suite 330
     Fresno, California 93721-2226
5
     Telephone: (559) 487-5561
6
     Counsel for Defendant
7    Brisa Celeste Castillo
8
                              IN THE UNITED STATES DISTRICT COURT
9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                   )   No. 1:13-cr-00219 LJO-SKO-1
11                                               )
                       Plaintiff,                )   STIPULATION TO CONTINUE STATUS
12
                                                 )   CONFERENCE WHILE LEAVING TRIAL
13          vs.                                  )   DATE UNCHANGED, ORDER THEREON
                                                 )
14   BRISA CELESTE CASTILLO,                     )   Date: January 27, 2014
                                                 )   Time: 8:30 a.m.
15
                       Defendant.                )   Judge: Hon. Lawrence J. O’Neill
16                                               )
                                                 )
17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, MEGAN RICHARDS, Assistant United States Attorney, counsel for plaintiff, and ERIC
20   V. KERSTEN, Assistant Federal Defender, counsel for defendant Brisa Celeste Castillo, that the
21   date for status conference in this matter may be continued to January 27, 2014, or the soonest date
22   thereafter that is convenient to the court. This request pertains to defendant Castillo only. The
23   date currently set for status conference is January 13, 2014. The requested new date is
24   January 27, 2014. The June 17, 2014 trial date shall remain unchanged.
25          The parties have reached a tentative agreement that will resolve the charges against
26   Defendant Castillo. However, Ms. Castillo is currently residing in a treatment facility in Southern
27   California and time is needed to allow Castillo to review additional materials prior to entering the
28   agreement. It is requested that the status conference be continued to allow this to occur.
     Case 1:13-cr-00219-LJO-SKO Document 101 Filed 01/09/14 Page 2 of 2


1             Time has already been excluded through the June 17, 2014 trial date. However, out of an
2    abundance of caution, the parties agree that any delay resulting from the continuance shall be
3    excluded as necessary effective defense preparation pursuant to 18 U.S.C. §§3161(h)(7)(A) and
4    3161(h)(7)(B)(iv). For this reason, the ends of justice served by the granting of the requested

5    continuance outweigh the interests of the public and the defendant in a speedy trial.

6

7                                                                   BENJAMIN B. WAGNER

8
                                                                    United States Attorney

9             DATED: January 9, 2014                        By:    /s/ Megan Richards
                                                                   MEGAN RICHARDS
10                                                                 Assistant United States Attorney
                                                                   Attorney for Plaintiff
11

12
                                                                    HEATHER E. WILLIAMS
13                                                                  Federal Defender
14            DATED: January 9, 2014                        By:    /s/ Eric V. Kersten
                                                                   ERIC V. KERSTEN
15
                                                                   Assistant Federal Defender
16                                                                 Attorney for Defendant
                                                                   Brisa Celeste Castillo
17

18

19                                                ORDER
20            The intervening period of delay is excluded in the interests of justice pursuant to 18
21   U.S.C. §§3161(h)(7)(A) and 3161(h)(7)(B)(iv).
22

23   IT IS SO ORDERED.

24
         Dated:        January 9, 2014                        /s/ Lawrence J. O’Neill
25                                                         UNITED STATES DISTRICT JUDGE

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27

28



     Castillo: Stipulation to Continue Hearing         2
